Case 3:21-cv-00043-RLY-MPB Document 1 Filed 02/26/21 Page 1 of 7 PageID #: 1




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              EVANSVILLE DIVISION

  SETH PRESSLER,                                       ]
       Plaintiff.                                      ]
                                                       ]
  vs.                                                  ] Cause No. 3:21-cv-43
                                                       ]
  UNIVERSITY OF SOUTHERN INDIANA,                      ]
       Defendant.                                      ]



                COMPLAINT FOR DEPRIVATION OF CIVIL RIGHTS

                                    Demand for Jury Trial

         COMES NOW the Plaintiff, Seth Pressler (hereinafter “Pressler”), by counsel,

  Jeremy W. Schnepper, Esq. and in this Complaint for Deprivation of Civil Rights alleges

  and states to this Honorable Court as follows:

         1.      Plaintiff brings this action against University of Southern Indiana

                 (hereinafter “USI”) for damages arising out of the discriminatory practices

                 committed by the staff, Director of Public Safety, Dean of Students, and

                 the University as an institution.

                                        A. PARTIES

         2.      At all times herein mentioned, Plaintiff, Pressler, was an individual and

                 student-resident of Evansville, County of Vanderburgh, State of Indiana.

         3.      Defendant, USI, is a public university located just outside of Evansville,

                 IN. Defendant receives federal financial assistance from the Department

                 of Education. Defendant may be served with process by serving the

                 institution at 8600 University Boulevard, Evansville IN, 47712, USA.




                                               1
Case 3:21-cv-00043-RLY-MPB Document 1 Filed 02/26/21 Page 2 of 7 PageID #: 2




                                     B. JURISDICTION

         4.      The Court has jurisdiction over the lawsuit pursuant to the Fourteenth

  Amendment of the United States Constitution, Section 504 of the Rehabilitation Act of

  1973, 42 U.S.C. § 1983, and 28 USC §1331, and §1367

         5.      This Court, without regard to the amount in controversy, has jurisdiction

  of the Plaintiff’s request pursuant to federal statutes and Indiana statutes. Venue is proper

  in the Southern District of Indiana, Evansville Division, because Defendant resides in

  Vanderburgh County, at all relevant times Seth Pressler lived in Vanderburgh County,

  Indiana, and all relevant events took place in Vanderburgh County, Indiana.



                                          C. FACTS

         1.      Pressler is a qualified individual with a disability. Pressler suffers from

                 Tourrette Syndrome.

         2.      Pressler suffers from verbal tics that are sudden, brief, and intermittent.

         3.      Pressler’s tics often include offensive language and phrases such as “I

                 have a gun” or “I have a bomb.”

         4.      Pressler immediately follows each tic with an apology explaining that he

                 does not have either.

         5.      Pressler performed well in high school and graduated with eligibility for

                 college.

         6.      Pressler applied for and was accepted to the University of Southern

                 Indiana.




                                                2
Case 3:21-cv-00043-RLY-MPB Document 1 Filed 02/26/21 Page 3 of 7 PageID #: 3




        7.    Alison Harlos is the natural guardian and parent of Pressler.

        8.    Alison Harlos and Pressler notified USI and the University’s Disability

              Resource Department of Pressler’s condition.

        9.    Pressler was given a disability coordinator, Mrs. Rhonda Stone.

        10.   Pressler physically attended his first day of class and informed his

              professors and other students that occasionally he may have an outburst

              followed by an apology explaining “I’m sorry, that was my Tourrette’s.”

        11.   University staff advised Alison Harlos that these measures were

              appropriate.

        12.   On or about the week of October 5, 2020, Pressler began to have multiple

              tics due to the stress of college.

        13.   On or about October 10, 2020, Pressler was contacted by the Office of

              Public Safety of USI expressing their concerns over his tics. Pressler was

              asked to attend a virtual meeting.

        14.   On or about October 12, 2020, Pressler was invited to a Google Team’s

              meeting with several staff members of USI, including Director of Public

              Safety, Stephen Bequette.

        15.   During the meeting of October 12, 2020, Pressler was informed by

              Stephen Bequette that he was being physically barred from campus and

              would need to confine to his dorm for five (5) days until October 16, 2020,

              whereby he would need to permanently vacate campus.




                                             3
Case 3:21-cv-00043-RLY-MPB Document 1 Filed 02/26/21 Page 4 of 7 PageID #: 4




        16.   Pressler was told by Stephen Bequette that if he became hungry he could

              call Residence Life to obtain dining options, but he could not physically

              appear on campus at the food court to get food.

        17.   On October 12, 2020, Pressler met with his disability advocate, Rhonda

              Stone, where they both expressed their despondency.

        18.   On October 12, 2020, once back at his dorm room, Pressler became

              hungry and called Residence Life to eat, however, there was no answer,

              and he could only leave a message.

        19.   Pressler later contacted Stephen Bequette’s office to secure food and was

              advised he had left for the day and no other assistance was provided.

        20.   On October 13, 2020, Pressler’s family came and took him away from

              USI’s campus.

        21.   Since the events, Pressler has remained off campus and has struggled to

              continue his education remotely.

        22.   Pressler was ostracized, confined, and discriminated against based on his

              disability, without consideration or accommodation.

        23.   The reasons provided for Pressler’s treatment are a pretext for

              discrimination.



                                     D. COUNT I

         VIOLATION OF THE FOURTEENTH AMENDMENT OF THE U.S.
                            CONSTITUTION

        24.   Plaintiff hereby repleads and incorporates by reference paragraphs 1-23.




                                           4
Case 3:21-cv-00043-RLY-MPB Document 1 Filed 02/26/21 Page 5 of 7 PageID #: 5




        25.   Defendants and staff have violated the Fourteenth Amendment by not

              providing Plaintiff the same access to benefits and services that are

              available to all other students.

                                      E. COUNT II

                           VIOLATION OF 42 U.S.C § 1983


        26.   Plaintiff hereby repleads and incorporates by reference paragraphs 1-25.

        27.   Defendants are state actors and have used their power to willfully,

              wantonly, and recklessly discriminate against the Plaintiff on the basis of

              his disability.

        28.   Defendants have used their authority under state law to deprive Plaintiff of

              equal protections under applicable federal laws.

        29.   Defendants’ actions were a gross miscarried of judgment and made in bad

              faith.

        30.   Defendants have displayed a pattern and practice of discriminating against

              Plaintiff due to his disability.

                                      F. COUNT III

                             VIOLATION OF SECTION 504

        31.   Plaintiff hereby repleads and incorporates by reference paragraphs 1-30.

        32.   Defendants’ have failed to ensure that Pressler had access to the same

              benefits and services that were available to similarly situated non-disabled

              students.

        33.   Defendants’ failed to ensure Pressler had access to public education under

              Section 504.



                                                 5
Case 3:21-cv-00043-RLY-MPB Document 1 Filed 02/26/21 Page 6 of 7 PageID #: 6




          34.    Defendants’ acted recklessly, wantonly, and willfully in violation of

                 federal laws protecting Pressler.

          35.    Defendants’ failed to provide Pressler reasonable accommodations.

          36.    Defendant’s have discriminated against Pressler on the basis of his

                 disability.



                                        E. DAMAGES

         37.     Plaintiff hereby repleads and incorporates paragraphs 1-36.

         38.     As a result of Defendant’s actions or inactions, Plaintiff has suffered

  emotionally and financially.



         WHEREFORE, Pressler, by counsel, requests this Honorable Court enter

  judgment against the Defendant, USI, for Pressler to be made whole, for attorney fees,

  and for all other just and proper relief in the premises.

                                         Respectfully submitted,



                                         /s/ Jeremy W. Schnepper
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                                                6
Case 3:21-cv-00043-RLY-MPB Document 1 Filed 02/26/21 Page 7 of 7 PageID #: 7




                                      JURY DEMAND


        Plaintiff hereby requests trial by jury.


                                        /s/ Jeremy W. Schnepper__
                                        Jeremy W. Schnepper, Esq.




                                               7
